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16
                             IN THE UNITED STATES DISTRICT COURT
17                         FOR THE NORTHERN DISTRICT OF CALIFORNIA

18
                                                       Case No. 15-cv-03504-YGR-JSC
19   CHRISTOPHER CORCORAN, et al.,
                                                       CLASS ACTION
20                             Plaintiffs,
                                                       DECLARATION OF JONATHAN K.
21         v.                                          LEVINE IN SUPPORT OF
                                                       PLAINTIFFS’ ADMINISTRATIVE
22   CVS PHARMACY, INC.,                               MOTION TO FILE UNDER SEAL
                                                       MATERIALS DESIGNATED AS
23                             Defendant.              CONFIDENTIAL
24                                                     Judge: Hon. Yvonne Gonzalez Rogers
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26
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     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                        CASE NO. 15-CV-03504-YGR-JSC
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     MATERIAL DESIGNATED AS CONFIDENTIAL
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 1   I, Jonathan K. Levine, declare as follows:
 2         1.       I am an attorney duly admitted to practice before this Court and am a partner of Pritzker
 3   Levine LLP, one of law firms representing plaintiffs and the proposed class in this litigation. I have
 4   personal knowledge of the facts stated herein and, if called upon to do so, could and would testify
 5   competently thereto.
 6         2.       Plaintiffs hereby request that the following documents be filed under seal, for the
 7   reasons set forth below:
 8                  a)      Portions of Plaintiffs’ Motion for Class Certification and Trial Plan (Appendix
 9                          to Motion);
10                  b)      Portions of the Declaration of Dr. Robert P. Navarro (Exhibit 1 to the
11                          Declaration of Robert Gilmore filed in support of Plaintiff’s Motion (“Gilmore
12                          Decl.”);
13                  c)      Portions of the Declaration of Dr. Joel W. Hay (Exhibit 15 to the Gilmore
14                          Decl.) respectively);
15                  d)      Exhibits 1 through 14 and 16 through 27 of the Gilmore Decl., as designated
16                          below.
17         3.       Pursuant to § 2.2 of the Revised Stipulated Protective Order (“Order”)(Docket No. 66,
18   filed December 14, 2015 and approved by the Court on December 15, 2015, Docket No. 67), each
19   party may designate as “Confidential” information that qualifies for protection under Federal Rule of
20   Civil Procedure 26(c). Pursuant to § 7.2 of the Order, disclosure of such information may be allowed
21   only to the categories of persons and under the conditions described in the Order. The documents
22   designated confidential and that are filed under seal are as follows:
23
24           Document                                     Designating Party and Confidentiality
                                                          Designation
25           Portions of Plaintiffs’ Motion for Class     CVS- Confidential
26           Certification, at 2:7-9, 14-16; 5:11-13,
             18-24; 6:3-5, 11-17; 7:1-2, 8-11, 22-
27           24; 8:6-12, 15-23; 9:3-21; 10:22-24;
             11:8-12, 27-28; 17:27-28; 21:10-12, 18-
28
     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                              CASE NO. 15-cv-03504-YGR-JSC
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 1         19; 22:28-23:2; and footnotes 6, 7, 10,
           and 12
 2         Portions of Plaintiffs’ Trial Plan,        CVS- Confidential
 3         Appendix to Motion for Class
           Certification, at 4:17-5:4, 5:16-20; and
 4         footnotes 2, 3, 6
 5         Exhibit 1 to the Gilmore Decl.: excerpts   CVS- Confidential
           of deposition transcript
 6
           Exhibit 2 to the Gilmore Decl.: portions   CVS- Confidential
 7         of the Declaration of Dr. Robert
           Navarro, at 21, 26, 34, 40, 43, 45, 47 -
 8
           50, and footnotes 23, 28, 31, 33 59, 64,
 9         67 and 78

10         Exhibit 3 to the Gilmore Decl.: excerpts   CVS- Confidential
           of deposition transcript
11
           Exhibit 4 to the Gilmore Decl.:            CVS- Confidential
12         document produced by CVS

13         Exhibit 5 to the Gilmore Decl.:            CVS- Confidential
           document produced by CVS
14
           Exhibit 6 to the Gilmore Decl.: excerpts   CVS- Confidential
15         of deposition transcript

16         Exhibit 7 to the Gilmore Decl.: excerpts   CVS- Confidential
           of deposition transcript
17
           Exhibit 8 to the Gilmore Decl.: excerpts   CVS- Confidential
18         of deposition transcript

19         Exhibit 9 to the Gilmore Decl.: excerpts   CVS- Confidential
           of deposition transcript
20
           Exhibit 10 to the Gilmore Decl.:           CVS- Confidential
21         excerpts of deposition transcript

22         Exhibit 11 to the Gilmore Decl.:           CVS- Confidential
           excerpts of deposition transcript
23
           Exhibit 12 to the Gilmore Decl.: chart     CVS- Confidential
24         summarizing CVS documents

25         Exhibit 13 to the Gilmore Decl.:           CVS- Confidential
           document produced by CVS
26         Exhibit 14 to the Gilmore Decl.:           CVS- Confidential
27         document produced by CVS

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     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                          CASE NO. 15-cv-03504-YGR-JSC
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 1           Exhibit 15 to the Gilmore Decl.:            CVS- Confidential
             Portions of the Declaration of Dr. Joel
 2           W. Hay, at 2, 9, 10, 12, 13, 27, 28, 31 -
             34, 38, 40 – 43, 50, 52 – 55; footnotes
 3           10 and 14; subheadings on page 13:24-
 4           15 and page 15:20-21; and Tables 1 –
             17
 5
             Exhibit 16 to the Gilmore Decl.:            CVS- Confidential
 6           documents produced by CVS

 7           Exhibit 17 to the Gilmore Decl.: emails     CVS- Confidential
             produced by CVS
 8
             Exhibit 18 to the Gilmore Decl.: email      CVS- Confidential
 9           produced by CVS

10           Exhibit 19 to the Gilmore Decl.: email      CVS- Confidential
             produced by CVS
11
             Exhibit 20 to the Gilmore Decl.: email      CVS- Confidential
12           produced by CVS

13           Exhibit 21 to the Gilmore Decl.:            CVS- Confidential
             document produced by CVS
14
             Exhibit 22 to the Gilmore Decl.:            CVS- Confidential
15           document produced by CVS

16           Exhibit 23 to the Gilmore Decl.:            CVS- Confidential
             document produced by CVS
17
             Exhibit 24 to the Gilmore Decl.             CVS- Confidential
18           excerpts of deposition transcript

19           Exhibit 25 to the Gilmore Decl.:            CVS- Confidential
             document produced by CVS
20
             Exhibit 26 to the Gilmore Decl.:            CVS- Confidential
21           document produced by CVS

22           Exhibit 27 to the Gilmore Decl.: chart      CVS- Confidential
             Exhibit 40 to the Gilmore Decl.:            CVS – Confidential
23
             excerpts of deposition transcript
24
            3.      Based upon my review of these materials, the requested relief is necessary per Civil
25
     Local Rule 79-5(e) to protect the confidentiality of information contained in these briefs and exhibits
26
     that is derived from, or consists wholly of, documents designated as Confidential by defendant under
27
     the terms of the Revised Protective Order.
28
     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                              CASE NO. 15-cv-03504-YGR-JSC
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 1          4.      Plaintiffs do not take a position as to whether these documents have been appropriately
 2   designated as Confidential and are appropriately filed under seal.
 3          I declare under penalty of perjury under the laws of the United States of America that the
 4   foregoing is true and correct.
 5          Executed this 3rd day of October, 2016 in Oakland, California.
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 7
                                                          By: /s/ Jonathan K. Levine
 8                                                               Jonathan K. Levine

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     DECL. OF JONATHAN K. LEVINE ISO PLAINTIFFS’                             CASE NO. 15-cv-03504-YGR-JSC
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